Case 1:18-cr-00032-DLF ' Document 117 Filed 04/02/19 Page 1 of 2 '

AO 83 [Rev, 061‘09) Summons in a Criminal Case

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of Ameriea
V.

)
) .
Concord Catering _ )
)/ CaseNo. 1:18~0\'-032
)
)

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

CI Information [I| Supersedinglnfonnation L'_I Complaint

dlndictment ij Supersedinglndictment
U Order of Court

|:l Probation Violation Petition Cl Supervised Release Violation Petitiorl l:l Violatiorl Notice

U. S. D|STR|CT COURT FOR THE D|STR|CT OF COl_UN|B|A
Courtroorn No.: T__

 

 

 

 

`P 1335 U. 8 Courthouso
_ 333 Constitution Avenue, N.W. _ .
l Washinqton. D.C. 20001 Date and T'me: 3 !LC» ll ii l "’ "i§':¢’

This offense is briefly described as follows:
18 U.S.C. 371 (Conspiracy to Defraud the United States)

 

Date: 02!1 6."2018 \ `
‘ ' . \'__/ issuing ohicer's sip§re x
U.S. Magistrate Judge G. M ~ » ae| Harvey
Prfnred name and rifle

l declare under penalty of perjury that l have:

g

fm Executed and returned this summons Cl Returned this summons meer
I»

 

 

f '
Date: _Bj_&‘f 233 g L____ : 1 ,t d_

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391 \"- 5"- W'&~E;JE, _R-';§l.il‘,\.»rr throw ¢}~',Tm»n}_`~..

Prr’nted name amf rifle

Case 1:18--cr -00032- DLF Document 117 Filed 04/02/19 Page 2 of 2
AO 83 (Re\ 061'09} Surnmons in a (` rimina| Ca.se (Fagc 2]

Case No_ 1:1B-Cr'032

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Not for Publ£e Dfsclosure)

INFORMATION FOR SERVICE
Name of defendant!offender: Conco,-d Catering

Last known residencc:

l -

USual place Oi` abode l’:_`}'d{',f?@rentj$'om residence address):

 

 

If the defendant is an organization, name(s) and address(es) of oflicer(s) or agent(s) legally authorized to receive service of

process:

 

 

lf the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:

 

 

 

 

 

 

 

 

PROOF OF SERVICE
This summons was received by me on (dare)- 3 l \'5 i'LG\ 3
l ' _
_ Cl l personally served the summons on this defendant _ _ _ at
cjolece) on (da:e) ; or
Cl On rdare) I left the summons at the individual’s residence or usual place of abode
with {Mme) , a person of suitable age and discretion who resides
there, and I mailed a copy to the individual‘s last known address; or
D I delivered a copy ofthe summons to maine ofindrvrdual) § E't‘.f=. E‘_I. ll '\"’\3 r" n_r~ ;\~l~i:__ ,

 

P<_`*- who..usanthonmdno'mwiveserviwofpwwss@n~baha§le£{mm@€wgmm} P£ . 3 E_¢_t. -r a a 5 ,E~r &.1€11:_.¢5
r__.¢.”;`-____ 4 r_ ','y._,§_ ,,;_c 3,'\¢....1 F~& n E K)r\‘\m~) on (dare) and+mailed-a~eopy-to

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\.(Vl- L.lnitcd$tates;os»

0 . FILED

Cl The summons was returned unexecuted because.

 

 

n _
\ ‘Jl
l declare under penalty of perjury that this mformatton rs true. .-__\ Al\ mem U,S' mistrial 31 Bankr_Uptcy
1; l l ‘“ . Courts for the Distrlot of f}o|umb|a
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l Date rcturned: __§'_."{'1“/ 241 5/ , _ (\ ,,.{,L,c ./r»». -f._
r.__-_

K\§j'ssignature ` -
Eru<_.r. ¢?.&§;) ss umw seem `A~nwt':-__

v"-_/)c’r'mle¢:€ name and title

Re marks :

